                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                            DOCKET NO. 1:23-cv-114

-----------------------------------------------------------------X
JOHN DOE

                               Plaintiff,

      -against-

WAKE FOREST UNIVERSITY,

                                Defendant.
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            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
             MOTION FOR A TEMPORARY RESTRAINING ORDER
                    AND PRELIMINARY INJUNCTION




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                                    INTRODUCTION

       Plaintiff John Doe (a pseudonym) (“Plaintiff” or “John” or “Doe”), a senior at Wake

Forest University (“Defendant” or “Wake Forest” or the “University”), hereby moves,

pursuant to Fed. R. Civ. P. 65 for a temporary restraining order and preliminary injunction

enjoining Defendant from enforcing its decision to suspend Plaintiff from the University

for one year and placing a notation on his transcript, and directing Defendant to

immediately restore Plaintiff’s access to all courses and academic resources necessary for

the completion of his undergraduate studies and, upon successful completion of his degree

requirements, to timely confer Plaintiff’s degree.

       Plaintiff, a student in good academic standing prior to the issuance of the suspension

decision, was slated to complete his coursework and graduate from the University in May

2023. Prior to the suspension decision, Plaintiff had been offered and accepted a position

for full time employment, to begin in the summer of 2023. This position is now in jeopardy

as it is contingent on Plaintiff’s completion of his undergraduate degree. Accordingly,

Plaintiff respectfully makes an application for a temporary restraining order and

preliminary injunction that will allow him to resume his studies forthwith and to timely

complete the requirements for his undergraduate degree, receive his degree, and begin his

employment, while this case is pending.

       In his Complaint, which is being filed with this Court along with the instant motion,

Plaintiff details how Wake Forest engaged in prohibited sex discrimination and violated

Plaintiff’s contract with the University when it erroneously found him responsible for

sexual misconduct and imposed a one-year suspension. While he is entitled to relief on all

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counts, he moves for immediate relief based on his Title IX claim. As demonstrated herein,

Plaintiff meets the requirements for a temporary restraining order and preliminary

injunction: he is likely to succeed on the merits of his Title IX claim, he is likely to suffer

irreparable harm absent the requested relief, the balance of hardships tips in his favor, and

the requested injunction is in the public interest. As such and for the reasons described

below, issuance of a temporary restraining order and preliminary injunction is warranted.

                                STATEMENT OF FACTS

       The complete facts underlying this litigation are set forth fully in Plaintiff’s

Complaint, filed simultaneously with the instant motion and incorporated herein by

reference. For the Court’s convenience, a summary of the relevant facts follows.

       Plaintiff, a male undergraduate student at Wake Forest University, was accused by

Jane Roe, a fellow student, of violating the University’s Gender Discrimination,

Harassment, and Misconduct Policy (the “Policy”). Cmplt. ¶¶ 1, 166.

       John and Jane met in the spring of 2021. Cmplt. ¶ 123. Thereafter, John and Jane

engaged in sexual activity on approximately six to eight occasions that semester. Cmplt. ¶

125. On each of these occasions, they engaged in kissing, cuddling, and touching, but did

not engage in intercourse. Id. John and Jane conveyed their consent to sexual activity

through physical contact, which they each understood; at no time did either of them express

consent verbally during their sexual encounters. Cmplt. ¶ 126.

       On or about October 7 or 8, 2021, Jane reached out to John to ask if he would be

interested in accompanying her to her sorority date function. Cmplt. ¶ 134. John agreed to

go with Jane to the event. Cmplt. ¶ 135. On October 15, 2021, John and Jane began the

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night in Jane’s suite, where a group of approximately ten to fifteen students met up before

the date function to “pregame”. Cmplt. ¶ 136. After, the group of students took a van ride

to the venue where the date function was held. Cmplt. ¶ 140. During the ride, Jane became

affectionate towards John as they sat next to each other. Cmplt. ¶ 141. They began kissing,

which was initiated by Jane. Cmplt. ¶ 141. Once at the venue, John spent time talking with

his friends and dancing with Jane. Cmplt. ¶ 143.

       After approximately two hours, the date function came to an end. Cmplt. ¶ 144. John

and Jane stopped at the AEPi house before returning to Jane’s dorm. Cmplt. ¶ 145. Though

both parties had consumed alcohol, neither was impaired to a degree that they were unable

to appreciate their surroundings or understand what was happening. Cmplt. ¶ 146. Jane did

not stumble, fall, slur her words, or fall asleep during the ride back to campus; to the

contrary, she was at all times fully coherent and alert. Cmplt. ¶ 147.

       When they arrived back to Jane’s dorm, John and Jane went up to Jane’s room,

where they began making out. Cmplt. ¶ 148. Consistent with their prior interactions, Jane

demonstrated her consent to engage in sexual activity through her non-verbal actions.

Cmplt. ¶ 149. As the interaction continued, Jane and John demonstrated their mutual

consent and agreement to progress their intimacy towards intercourse. Cmplt. ¶ 150. John

obtained a condom from his wallet and then returned to the bed. Cmplt. ¶ 151. Jane did not

tell him to stop and instead, continued to caress him. Cmplt. ¶ 152.

       John attempted to put the condom on however, because John was unable to maintain

an erection, intercourse did not occur. Cmplt. ¶¶ 153-154. Instead, they continued to kiss

and cuddle. Cmplt. ¶ 155. At no time was John’s body ever pressed on top of Jane’s, he

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never forced her down, never prevented her from moving, and never vaginally penetrated

her. Cmplt. ¶ 156. Further, Jane never asked John to stop, never asked him to leave, and

never got up to leave the room herself. Cmplt. ¶ 157. Instead, she was a fully engaged and

active participant. Cmplt. ¶ 158.

       John slept in Jane’s bed that evening. Cmplt. ¶ 159. When they woke up in the

morning, they began cuddling. Cmplt. ¶ 160. Jane began to rub John’s shoulders and

reached up to his hair, which had historically indicated the initiation of sexual contact. Id.

Based upon Jane’s actions, and consistent with their prior sexual encounters, they began

kissing and John digitally penetrated Jane briefly. Cmplt. ¶ 161. They thereafter cuddled

for a while longer before John got out of bed, got dressed, said goodbye and gave Jane a

kiss, before returning to his dorm room. Cmplt. ¶ 162. John’s departure that morning was

no different than the many times they had spent together previously. Cmplt. ¶ 163. A few

weeks later, John began dating another student. Cmplt. ¶ 164. Accordingly, he did not

contact Jane thereafter. Id. John had no indication that Jane had any concern regarding what

transpired between them on October 15, 2021 until he received the Notice of Allegations

from Wake Forest six months later, in April of 2022. Cmplt. ¶ 165.

       On April 13, 2022, Title IX Director Aishah Casseus (“Casseus”) sent John a Notice

of Allegations (the “Notice”) indicating that Wake Forest had received a formal complaint

alleging that he engaged in sexual harassment in violation of the University’s Policy.

Cmplt. ¶ 166. Casseus indicated that Jane contended John engaged in “sexual harassment

by sexual assault” on October 16, 2021, in her dorm. Cmplt. ¶ 167.

       On April 14, 2022, Casseus advised John that Jane was interested in pursuing an

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adaptive resolution. Cmplt. ¶ 173. After several meetings and email communications from

May through August of 2022, Jane declined to accept John’s proposed terms for resolution

and withdrew from the adaptive resolution process. Cmplt. ¶ 180.

       On August 19, 2022, Casseus notified John that the formal resolution process would

resume. Cmplt. ¶ 181. Assistant Director of Title IX Jessica Telligman (“Telligman”) was

appointed to serve as investigator. Cmplt. ¶ 182. On August 29, 2022, Casseus issued a

Mutual No Contact Order between John and Jane. Cmplt. ¶ 183. Telligman interviewed

Jane for the first time on August 30, 2022. Cmplt. ¶ 184. On September 1, 2022, Casseus

provided John with an Updated Notice of Allegations (the “Updated Notice”). Cmplt. ¶

185. Casseus informed John that Jane was now alleging—ten months after the alleged

incident—that John engaged in non-consensual sexual intercourse with her on October 15,

2021. Cmplt. ¶ 186. Specifically, Jane claimed that while she initially consented to sexual

intercourse with John, she subsequently withdrew her consent. Id.

       Jane was again interviewed by Telligman, on September 7, 2022, October 5, 2022

and October 12, 2022. Cmplt. ¶ 190. Jane concurred that she and John had engaged in

consensual kissing and fondling and spent the night together on several occasions in the

spring of 2021 and once or twice in the fall of 2021. Cmplt. ¶ 191. Jane also confirmed that

she and John had not previously discussed consent for any of their sexual interactions, but

instead both used “physical responses” to indicate consent. Cmplt. ¶ 192. John appeared

for investigation interviews with Telligman on September 8, 2022, September 15, 2022,

September 26, 2022, and October 6, 2022. Cmplt. ¶ 194. Telligman also interviewed six

witnesses. Cmplt. ¶ 200.

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       On November 4, 2022, Telligman issued the Final Investigation Report. Cmplt. ¶

201. The Report again revised the allegations made against John, to include alternative

theories of non-consent related to the sexual activity on the evening of October 15, 2021,

as well as a claim that Jane was incapacitated due to sleep during the sexual activity on the

morning of October 16, 2021. Cmplt. ¶ 202. The Report included select portions of Jane’s

medical records, indicating that she visited the University Student Health Service on

October 18, 2021. Cmplt. ¶ 204. Importantly, the medical record indicated that Jane

“denie[d] sexual assault.” Cmplt. ¶ 206. The medical record also revealed inconsistencies

in Jane’s account, as to what she told the hospital staff within days of the alleged incident,

as compared to what she told Telligman approximately one year later. Cmplt. ¶¶ 208-209.

       The University appointed attorney Dixie Wells to serve as the hearing officer,

despite the evident conflict created by her background of defending universities against

claims brought by students. Cmplt. ¶¶ 222-224. John appeared for the hearing in person on

November 29, 2022 while Jane and the witnesses appeared remotely. Cmplt. ¶ 228. Wells

deprived John of a fair and meaningful opportunity to be heard when: (i) John’s advisor

was not able to cross-examine Jane until the very end of the hearing.; (ii) despite there

being no time limits imposed on the questioning of any other witnesses, Wells did limit the

time for John’s advisor to cross-examine Jane, because it was getting late; (iii) Wells

permitted Jane’s advisor to interrupt John’s attorney during his cross-examination of Jane,

to inquire how much longer he would take; (iv) Wells permitted Jane’s advisor to ask every

question proposed, while barring John’s advisor from asking the parties and witnesses

questions that Wells arbitrarily deemed not relevant; (v) at 10:16 p.m., Wells threatened

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John’s attorney that she planned to conclude the hearing in “15 minutes”; (vi) Wells

permitted Jane and the Telligman to respond to questions with such statements as “that

information is in one of my recorded statements” or “that information is in my report”; (vii)

Wells repeatedly interrupted John’s advisor during his cross-examination of Jane; (viii)

rebuffed John’s advisor’s attempt to ask Jane certain relevant questions; and (ix) permitted

Jane’s attorney to interrupt his cross-examination by raising objections, even though

objections are not permitted in a Title IX hearing. Cmplt. ¶ 229.

       On December 20, 2022, Casseus sent John a copy of the hearing outcome letter.

Cmplt. ¶ 230. Wells concluded that Wake Forest met its burden by demonstrating that John

engaged in Sexual Harassment by Sexual Assault (Rape) and Sexual Harassment by Sexual

Assault with an Object in violation of the Policy. Cmplt. ¶ 231. The findings were thereafter

sent to an appointed sanctions officer, who recommended a one-year suspension as the

sanction, with eligibility to return in Spring 2024. Cmplt. ¶¶ 241-242.

       John submitted his appeal of the hearing outcome on January 3, 2023. Cmplt. ¶ 245.

His appeal was based on: (i) procedural irregularities that affected the outcome; (ii) a

conflict of interest or bias that affected the outcome; and (iii) the sanction was

incommensurate to the gravity of the sexual harassment that he was found responsible for.

Cmplt. ¶ 246. On January 23, 2023, appeal officer Howard Kellam denied John’s appeal.

Cmplt. ¶ 248. While declining to find any bias on the part of Hearing Officer Wells, Kellam

did acknowledge that “a pattern of findings in the Claimant’s favor without apparent,

evidence-based reasons and where the evidence substantially favors the Respondent can be

proof of bias.” Cmplt. ¶ 248, n. 3.

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       Through this action, Plaintiff seeks, inter alia, an order directing Wake Forest to set

aside the decision finding him responsible for sexual assault and to have all annotations

referencing the finding removed from his transcript. Without appropriate redress, the

unjustified decision and sanction will cause irreversible damage to Plaintiff’s reputation,

education, and future career. Moreover, without immediate injunctive relief to preserve the

status quo, Plaintiff will be unable to complete his current semester’s courses, unable to

obtain his degree, and unable to begin employment for which he has already accepted a

full-time offer. Doe Decl., ¶¶ 12-13.

                                 QUESTION PRESENTED

Question:     Should this Court issue a temporary restraining order and preliminary

injunction to (1) prevent Defendant from suspending Plaintiff and marking his transcript;

(2) requiring Defendant to restore Plaintiff’s access to all courses and academic activities

for the Spring 2023 semester; and (3) directing Defendant, upon Plaintiff’s successful

completion of the relevant requirements, to timely confer Plaintiff’s degree, pending the

resolution of this litigation?

Answer:       Yes. It is likely that that the finding of responsibility and sanction against

Plaintiff, which derive from a biased, flawed, and unjust process conducted by Defendant,

will be reversed. Should Plaintiff not be permitted to resume his education, complete the

final semester of his senior year, and earn his undergraduate degree, he will suffer

irreparable harm that will not be able to be remedied if this Court ultimately finds that

Wake Forest violated Plaintiff’s rights and reverses the finding and sanction. Conversely,

permitting Plaintiff to resume his education while the matter proceeds through this

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litigation will pose no harm to Defendant.

                                       ARGUMENT

I.     The Requested Temporary Restraining Order and Preliminary Injunction is
       Proper Under the Law.

       A preliminary injunction, while considered an extraordinary remedy, should be

issued when necessary to preserve the status quo pending the final outcome of a case.

Amazon.com, Inc. v. WDC Holdings LLC, No. 20-1743, 2021 WL 3878403, at *4 (4th Cir.

Aug. 31, 2021). The status quo “is not the circumstances existing at the moment the lawsuit

or injunction request was actually filed, but the ‘last uncontested status between the parties

which preceded the controversy.’” Aggarao v. MOL Ship Management Co., Ltd., 675 F.3d

355, 378 (4th Cir. 2012), citing Stemple v. Bd. Of Ed. of Prince George’s Cnty., 623 F.2d

893, 898 (4th Cir. 1980). The temporary restraining order and preliminary injunction that

Plaintiff seeks here merely preserves the status quo of the last peaceable, uncontested status

between the parties, i.e.— John’s status as an active student enrolled at Wake Forest.

       In a number of recent cases, federal courts have granted the kind of injunctive relief

sought here, prohibiting schools from implementing discipline against students whose

litigation challenges the school’s disciplinary proceedings, while such litigation is pending.

See, e.g., Doe v. University of Connecticut, No. 3:20-cv-00092 (D. Conn. Jan. 23, 2020);

Nokes v. Miami Univ., No. 17-CV-482, 2017 WL 3674910 (S.D. Ohio Aug. 25, 2017); Doe

v. Pennsylvania State Univ., 276 F. Supp. 3d 300, 302 (M.D. Pa. 2017); Doe v. Brown

Univ., 210 F. Supp. 3d 310, 313 (D.R.I. 2016); Ritter v. Oklahoma, No. 16-CIV-0438-HE,

2016 WL 2659620, 2016 U.S. Dist. LEXIS 60193 (W.D. Okla. May 6, 2016); King v.


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DePauw Univ., No. 2:14-cv-70, 2014 WL 4197507, 2014 U.S. Dist. LEXIS 117075 (S.D.

Ind. Aug. 22, 2014); Doe v. Texas Christian Univ., No. 4:22-CV-00297-O, 2022 WL

1573074 (N.D. Tex. April 29, 2022).

II.     The Legal Standard.

        Plaintiff’s motion for a temporary restraining order and preliminary injunction,

which seeks to maintain the status quo and prevent irreparable harm during the pendency

of this lawsuit, should be granted because the facts, as discussed herein, satisfy the

requirements for such relief under the standard set forth in Winter v. Natural Resources

Defense Council, Inc., 555 U.S. 7, 20 (2008), and as recognized by the Fourth Circuit in

Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013).

        Parties seeking a temporary restraining order and preliminary injunction must make

a “clear showing” of four prerequisites: “(1) they are likely to succeed on the merits, (2)

they are likely to suffer irreparable harm, (3) the balance of hardships tips in their favor,

and (4) the injunction is in the public interest.” Pashby v. Delia, 709 F.3d at 320

(citing Winter, 555 U.S. at 20).1 The court must “separately consider each Winter factor to

determine whether each factor has been “satisfied as articulated.” Id. at 320-321, (citing

The Real Truth About Obama, Inc. v. FEC, 575 F.3d 342, 347 (4th Cir. 2010), reversed on

other grounds). See also Cantley v. W. Va. Reg'l Jail & Corr. Facility Auth., 771 F.3d 201,



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 “A request for a preliminary injunction is evaluated in accordance with a ‘sliding scale’ approach: the
more the balance of irreparable harm inclines in the plaintiff's favor, the smaller the likelihood of prevailing
on the merits he need show in order to get the injunction.” Direx Israel, Ltd. v. Breakthrough Med. Corp.,
952 F.2d 802, 813 (4th Cir. 1991), citing Kowalski v. Chicago Tribune Co., 854 F.2d 168, 170 (7th
Cir.1988).


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207 (4th Cir. 2014); AT by HT v. Univ. of N. Carolina, No. 1:16-CV-489, 2016

WL 10586289, at *3 n.5 (M.D.N.C. July 7, 2016).

III.    Plaintiff is Likely to Succeed on the Merits of his Claims.

        To demonstrate a likelihood of success on the merits, “[a] plaintiff need not establish

a certainty of success, but must make a clear showing that he is likely to succeed at trial.”

Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017) (internal quotations omitted).

Motions for preliminary injunction are “governed by less strict rules of evidence.” G.G. ex

rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 725 (4th Cir. 2016). Because “the

purpose of a preliminary injunction is merely to preserve the relative positions of the parties

until a trial on the merits can be held” and “given the haste that is often necessary if those

positions are to be preserved, a preliminary injunction is customarily granted on the basis

of procedures that are less formal and evidence that is less complete than in a trial on the

merits.” Id. (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)).

        A. Violation of Title IX- Erroneous Outcome

        Title IX states: “No person in the United States shall, on the basis of sex, . . . be

subjected to discrimination under any education program or activity receiving Federal

financial assistance.” 20 U.S.C. § 1681(a). “Title IX bars the imposition of university

discipline where gender is a motivating factor.” Yusuf v. Vassar Coll., 35 F.3d 709, 715

(2d Cir. 1994). The statute is enforceable through an implied private right of action. Id. at

714. Title IX claims relating to university disciplinary proceedings generally fall into in

two categories: (1) “erroneous outcome” cases, in which “the claim is that plaintiff was

innocent and wrongly found to have committed an offense”; and (2) “selective

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enforcement” cases, where “the claim asserts that, regardless of the student’s guilt or

innocence, the severity of the penalty and/or decision to initiate the proceeding was

affected by the student’s gender.” Id. at 715.

       Here, it is alleged that Wake Forest’s decision finding Plaintiff responsible for

sexual assault was erroneous and was motivated by gender bias. While some circuits

continue to analyze Title IX claims under the erroneous outcome and selective enforcement

theories, the Fourth Circuit has adopted the Seventh Circuit’s view that there is “no need

to superimpose doctrinal tests on the [Title IX statute.] Doe v. Purdue Univ., 928 F.3d 652,

667 (7th Cir. 2019). More simply, “the standard for Title IX claims in this context” asks:

“do ‘the alleged facts, if true, raise a plausible inference that the university discriminated

[against John Doe] ‘on the basis of sex’?” Doe v. Columbia Coll. Chi., 933 F.3d 849, 854–

55 (7th Cir. 2019) (quoting Purdue Univ., 928 F.3d at 667–68); Schwake v. Arizona Bd. Of

Regents, 967 F.3d at 947.

       Pleading sufficient facts which cast some articulable doubt on the accuracy of the

outcome of a Title IX disciplinary proceeding is “not a significant barrier to cross” and can

be established in a number of ways including: pointing to procedural flaws in the

investigatory and adjudicative processes; noting inconsistencies or errors in the

adjudicator’s oral or written findings; or challenging the overall sufficiency and reliability

of the evidence. Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584 (E.D. Va. 2018); Norris

v. Univ. of Colo., 362 F. Supp. 3d 1001, 1011 (D. Colo. 2019); Yusuf, 35 F. 3d at 715.

Allegations that a plaintiff was not provided a right of cross-examination when credibility

was at stake is also sufficient to cast some articulable doubt on the accuracy of a

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disciplinary proceeding’s outcome. Baum, 903 F.3d 575, 585-586 (6th Cir. 2018) (where

the outcome of a university disciplinary proceeding depends on credibility, an accused has

a constitutional due process right to “some form of cross-examination” of the accuser at an

in-person hearing). As are “particular evidentiary weaknesses behind the finding of an

offense such as motive to lie on the part of a complainant or witnesses.” Norris, 362 F.

Supp. 3d at 1011. Moreover, gender bias can be inferred from the manner in which

university officials treat a male Title IX respondent as compared to the female

complainant(s), including allegations that exculpatory evidence was overlooked in favor

of finding the male responsible for Title IX violations. See Marymount U., 297 F. Supp. 3d

at 586-587; Norris, 362 F. Supp. 3d at 1012-1013; Doe v. Columbia, 831 F.3d 46, 57 (2d

Cir. 2016) (“[w]hen the evidence substantially favors one party’s version of a disputed

matter, but an evaluator forms a conclusion in favor of the other side…it is plausible to

infer…that the evaluator has been influenced by bias.”)

       Plaintiff submits that the facts of this case show a clear influence of gender bias on

the outcome of the proceedings and a prima facie case of sex discrimination.

       In this case, the facts provided in the Complaint and the Declaration of John Doe in

support of this motion, sufficiently raise a plausible inference that Wake Forest

discriminated against Plaintiff when it found him responsible for violating the Policy,

resulting in a sanction of a one-year suspension. By way of example, and not limitation: (i)

Casseus supplemented Jane’s Notice of Allegations in September 2021, adding a charge of

non-consensual sexual intercourse four months after the initial notice was sent to John and

ten months after the encounter at issue; (ii) Telligman offered to Jane suggested responses

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to explain away the inconsistencies between her testimony provided during the

investigation and her statements made in the medical records; (iii) Telligman offered to

Jane proposed meanings for statements made in text messages, to strengthen Jane’s claims

against John; (iv) Hearing Officer Wells limited the time for John’s advisor to cross-

examine Jane during the hearing because it was getting late into the evening; (v) Wells

permitted Jane’s advisor to interrupt John’s advisor during his cross-examination of Jane;

(vi) Wells permitted Jane’s advisor to ask every question presented to the parties and

witnesses while barring John’s advisor from asking critical and relevant questions; (vii)

Wells issued a decision that was against the weight of the evidence; (viii) Wells disregarded

the numerous inconsistencies and contradictions in Jane’s statements; (ix) accepted Jane’s

decision not to authorize the testimony of Director of Student Health Dr. Price while

drawing an adverse inference as to Doe’s inability to provide relevant text messages despite

his affirmation that he did not have any; (x) Wells overlooked Jane’s motivations for filing

the complaint against John; and (xi) entirely ignored Jane’s statement that supported John’s

account of them having attempted to engage in intercourse but not being able to do so given

he could not maintain an erection.

       The foregoing, when considered along with additional external pressures placed

upon the University to find in favor of the female complainant and against the male

respondent, provides further evidence of gender bias. See, e.g., Columbia, 831 F.3d at 57

(“[I]t is entirely plausible that the University’s decision-makers and its investigator were

motivated to favor the accusing female over the accused male, so as to protect themselves

and the University from accusations that they had failed to protect female students from

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sexual assault.”); Collick v. William Paterson Univ., 16-471 (KM) (JBC), 2016 WL

6824374 at *16 (D.N.J. Nov. 17, 2016) (“[I]t is no more than a commonsense inference

that the public’s and the policymakers’ attention to the issue of campus sexual assault may

have caused a university to believe it was in the spotlight” and thus discriminate against

the male respondent), adhered to on denial of reconsideration, 2017 WL 1508177 (D.N.J.

Apr. 25, 2017), aff'd in part, remanded in part, 699 Fed. Appx. 129 (3d Cir. 2017); Doe

v. Rollins Coll., 352 F. Supp. 3d 1205, 1210–11 (M.D. Fla. 2019) (investigation “amidst a

clamor of public and campus scrutiny over its treatment of sexual assault complaints by

female students” created “circumstantial evidence of bias”); Doe v. Amherst Coll., 238

F.Supp.3d 195, 223 (D. Mass. 2017) (allegations that university was trying to “appease” a

student-led movement resulted in gender bias); Doe v. Lynn Univ., Inc., 235 F.Supp.3d

1336, 1340–42 (S.D. Fla. 2017) (allegations that university was reacting to “pressure from

the public and the parents of female students” to punish males); Wells v. Xavier Univ.,

7 F.Supp.3d 746, 751 (S.D. Ohio 2014) (allegations suggested that university was “reacting

against him[ ] as a male” in response to a Department of Education investigation).

       The circumstances relevant to this matter include, but are not limited to, the

following: (i) on April 26, 2021, approximately one year prior to the date on which Jane

filed her complaint, the OCR opened an investigation against Wake Forest regarding its

handling of a sexual harassment complaint, which currently remains active; (ii) on August

28, 2021, students at Wake Forest participated in a protest, to respond to an allegation of

sexual assault committed by a student against another Wake Forest student; (iii) in October

of 2021, Wake Forest created the Sexual Assault Prevention Support and Accountability

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Committee, charged with implementing a university-wide sexual assault campus climate

survey and advising the student body president on issues relating to sexual misconduct;

(iv) approximately one year ago, a Change.org petition addressed to administrators at Wake

Forest University, demanded action by Wake Forest, stating the University “has recently

allowed many abusers and sexual offenders to return to campus, taking the safety that the

survivors once had away”, and accusing Wake Forest of “putting survivors in a position of

neglect, disrespect, and retraumatization”; (v) in the spring of 2022, Wake Forest students

participated in a Campus Climate Survey, intended to provide insight into the prevalence

of sexual misconduct at Wake Forest. The survey, completed by 38% of the Wake Forest

student population, revealed that 55% of participants indicated they had experienced sexual

assault; and (vi) in October 2022, a suspect was charged with trespassing on Wake Forest

property. Many viewed the University’s response to the concern as inadequate, prompting

students to voice their concerns about general student safety on campus.

       In light of the foregoing, Plaintiff sufficiently sets forth a likelihood of success on

the merits of his Title IX claim, satisfying the first element of the preliminary injunction

analysis.

IV.    Plaintiff Will Suffer Irreparable Harm if the University is Permitted to Enforce
       its Suspension Decision Pending the Outcome of this Litigation.

       It is well established that a showing of irreparable harm requires a Plaintiff to

demonstrate that he is subject to a continuing harm that cannot be adequately addressed by

final relief on the merits and for which “monetary damages are difficult to ascertain or are

inadequate.” Lab’y Corp. of Am. Holdings v. Kearns, 84 F. Supp. 3d 447, 463 (M.D.N.C.


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2015) (citing Multi-Channel TV Cable Co. v. Charlottesville Quality Cable Operating Co.,

22 F. 3d 546, 551–52 (4th Cir. 1994)); Hughes Network Systems, Inc. v. InterDigital

Communication Corp., 17 F.3d 691 (4th Cir. 1994). Plaintiff easily makes such a showing

here. At the time of his suspension, Plaintiff was in the final few months of his final year

of college, and, upon successful completion of these last courses, Plaintiff was on track to

graduate and earn his degree in May 2023. Further, Plaintiff is scheduled to begin

employment based on a previously accepted job offer, in the summer of 2023 which is

contingent upon completion of his undergraduate degree. Doe Decl., ¶ 12.

       Absent injunctive relief, Plaintiff will suffer losses for which money damages alone

cannot compensate; specifically, if no injunction is issued, even if Plaintiff ultimately succeeds

on the merits of his claim, he still would be a full year of credits short of graduating, would not

earn his degree on time, and would forever have to explain to any future employer or graduate

program the reason for his failure to complete his degree on time. Moreover, while money

damages might help to compensate for the lost salary that he had expected to begin earning in

the summer of 2023, it would not compensate for the loss of the opportunity in terms of future

career success. Accordingly, without injunctive relief, Plaintiff will be precluded from

completing his final coursework, be ineligible to graduate or receive his degree, and be

ineligible to begin his career. Doe Decl. at ¶¶ 12-13.

       For these losses, money damages cannot make Plaintiff whole. See, e.g., Doe v.

Middlebury, supra, 2015 WL 5488109 at *3 (“While Plaintiff may recover money damages

to compensate for lost wages, money damages cannot compensate for . . . the delay in the

completion of his degree, or the opportunity to begin his career in July . . . with this

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particular employment. Further, Plaintiff would have to explain, for the remainder of his

professional life, why his education either ceased prior to completion or contains a gap.”);

Doe v. Univ. Conn., supra, No. 20-CV-00092, ECF No. 18, at *4 (“For a college student

poised to graduate in a few months, it is highly likely that a . . . suspension and a sanction

for sexual assault would indeed ‘forever change[]’ the trajectory of his education and

career. . . . ”); Doe v. Univ. of Notre Dame, supra, 2017 WL 1836939, at *12 (“Even if

John prevails in this case and the disciplinary dismissal is set aside by the final relief

awarded. . . I am persuaded that this gap constitutes irreparable harm to John’s reputation

and resumé for purposes of career prospects and possible further academic advancement.

The questions the gap raises, and the explanation it requires, are potentially damaging to

John in a manner not compensable by money damages and not repaired by permanent

injunctive relief that might be granted after a decision on the merits in John’s favor.”); King

v. DePauw University, supra, 2:14-cv-70 (S.D. Ind. Aug. 22, 2014) (“If King is not

permitted to complete this upcoming semester at DePauw—he will forever have either a

gap or a senior-year transfer on his record. The Court finds it inevitable that he would be

asked to explain either situation by future employers or graduate school admissions

committees, which would require him to reveal that he was found guilty of sexual

misconduct by DePauw. Successfully seeing this lawsuit to its conclusion could not erase

the gap or the transfer; the question will still be raised, and any explanation is unlikely to

fully erase the stigma associated with such a finding. Money damages would not provide

an adequate remedy at that point; DePauw's disciplinary finding—even if determined to

have been arbitrary or made in bad faith—would continue to affect him in a very concrete

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way, likely for years to come.”); Phillip v. Nat’l Collegiate Athletic Ass’n, 960 F. Supp.

552, 558 (D. Conn. 1997) (granting preliminary injunction where, “if the motion is denied,

[plaintiff]’s education will be interrupted and delayed, perhaps for years”); Coleman v.

Newburgh Enlarged City School Dist., 319 F. Supp. 2d 446, 453 (S.D.N.Y. 2004)

(continued suspension of student, and accompanying preclusion from extracurricular

activities, “would result in imminent and irreparable harm”); Maczaczyj v. State of N.Y.,

956 F. Supp. 403, 408 (W.D. N.Y. 1997) (plaintiff showed irreparable harm where, in

absence of injunction, he would not be able to participate in his master’s program, or any

other master’s program at the college, which exclusion would most likely affect his ability

to engage in future employment of his choice and would have an unquantifiable effect on

his mental health).

       Accordingly, Plaintiff meets the second element necessary for injunctive relief.

V.     The Balance of Hardships Tips Decidedly in Plaintiff’s Favor.

       In assessing the third factor, a court must consider the burdens that would be

imposed on the moving party and the non-moving party if the injunction were granted.

See Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020). Where granting an injunction

would have little impact on the non-moving party, but denying the relief sought would

cause great harm to the moving party, this factor weighs in favor of granting the

injunction. See NovaQuest, 498 F. Supp. 3d at 838; Frankenmuth Mut. Ins. Co. v. Cadet

Constr. Co., No. 1:19-CV-1125, 2020 WL 2322726, at *5 (M.D.N.C. May 11, 2020).

        The balance of hardships in this case weighs decidedly in Plaintiff’s favor.

Permitting Plaintiff to resume his classes for the spring 2023 semester would not place

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 any hardship on the University. Throughout the duration of the disciplinary proceedings,

 which spanned approximately nine months, from April of 2022 until January of 2023,

 Plaintiff continued his studies without issue. Accordingly, permitting Plaintiff to

 continue his courses poses no threat whatsoever to the safety of any Wake Forest student.

 Additionally, the University can continue the mutual no contact order in place, to ensure

 there is no interaction between John and Jane. Indeed, granting Plaintiff’s motion would

 simply restore the status quo pro prior to his suspension. If Wake Forest ultimately

 prevails in this litigation, it can simply place the notation back on Plaintiff’s transcript

 and revoke/rescind his degree. See Doe v. Middlebury Coll., 2015 WL 5488109, at *4;

 Doe v. University of Connecticut, No. 3:20-cv-00092, ECF No. 18, at *11.

        Conversely, as discussed in section IV above, the burden to Plaintiff if the

 preliminary injunction is denied is significant and will negatively harm him throughout

 his life, even if the findings and sanction are ultimately reversed. Thus, this factor

 supports the issuance of a preliminary injunction.

VI.    It is in the Public Interest to Grant the Injunction.

       There is a strong public interest in avoiding violations of civil rights. See Floyd v.

City of New York, 959 F. Supp. 2d 668, 673 (S.D.N.Y. 2013). Likewise, “[t]he public has

an interest in fundamentally fair and sound educational discipline that is not imposed

arbitrarily or capriciously.” Doe v. Univ. of Notre Dame, supra, 2017 WL 1836939, at *13.

See also Ritter v. State of Oklahoma, supra, 2016 WL 2659620, at *3 (“[I]t is always in

the public’s interest that a student be treated fairly before being disciplined.”). And while

there is a public interest in the enforcement of university disciplinary policies, “allowing

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the Plaintiff to enroll in school while the Court adjudicates his motion for a preliminary

injunction does not unreasonably interfere with that interest.” Doe v. Univ. Conn., supra,

No. 3:20-cv-00092, ECF No. 18, at *12. See also Middlebury Coll., supra, 2015 WL

5488109, at *4 (finding public interest did not weigh against Plaintiff where he posed no

danger to campus and there was no potential for him to interact with Roe if readmitted).

Thus, the public interest weighs in favor of granting Plaintiff injunctive relief, satisfying

the fourth and final element for such relief.

VII.    A Bond is Not Required.

        Federal Rule of Civil Procedure 65(c) provides that a “court may issue a preliminary

injunction or a temporary restraining order only if the movant gives security in an amount

that the court considers proper to pay the costs and damages sustained by any party found

to have been wrongfully enjoined or restrained.” However, “the district court retains the

discretion to set the bond amount as it sees fit or waive the security requirement.” Pashby

v. Delia, 709 F.3d at 332. Plaintiff submits that no bond is required here as Defendant will

not suffer any material damage, nor be exposed to the likelihood of any harm, if the

requested preliminary injunction is granted. Therefore, Plaintiff submits that he should not

be required to post any bond/security as part of this motion.

                                     CONCLUSION

        For the foregoing reasons, the Court should grant a temporary restraining order and

preliminary injunction restraining Defendant from suspending Plaintiff from Wake Forest

pending the adjudication of the merits of the Complaint.



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 Respectfully submitted this 7th day of February 2023.

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                CERTIFICATE OF COMPLIANCE WITH LR7.3(d)

       The undersigned counsel hereby certifies that this brief contains 6,207 words as

calculated by the word processing software used to produce it and therefore complies with

LR7.3(d)’s limitation of 6,250 words, excluding captions, signature blocks and certificates.


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                             CERTIFICATE OF SERVICE
       I hereby certify that on February 7, 2023, I filed the foregoing using the Clerk’s

CM/ECF system, which will provide notice to all counsel of record. I further certify that

the foregoing will be served manually on all parties along with the summons and complaint.


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